Case 1:19-md-02875-RMB-SAK   Document 2559-1   Filed 12/22/23   Page 1 of 11
                             PageID: 88619



                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY


IN RE VALSARTAN,
LOSARTAN, AND                                   MDL No. 2875
IRBESARTAN PRODUCTS
LIABILITY LITIGATION
                                        HON. ROBERT B. KUGLER
                                         CIVIL NO. 19-2875 (RBK)
THIS DOCUMENT RELATES TO
ALL CASES




   PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR PARTIAL
     SUMMARY JUDGMENT ON FRAUD AGAINST TORRENT
Case 1:19-md-02875-RMB-SAK                      Document 2559-1             Filed 12/22/23         Page 2 of 11
                                                PageID: 88620



                                       TABLE OF CONTENTS

PRELIMINARY STATEMENT .............................................................................1

TORRENT IS LIABLE FOR FRAUD AS A MATTER OF LAW ........................2

CONCLUSION ........................................................................................................5




                                                          i
Case 1:19-md-02875-RMB-SAK                     Document 2559-1            Filed 12/22/23         Page 3 of 11
                                               PageID: 88621



                                    TABLE OF AUTHORITIES

Cases

Adams v. King Cty.,
     164 Wash. 2d 640, 192 P.3d 891 (2008) ................................................ 3

Albe v. City of New Orleans,
      2014-0186 (La. App. 4 Cir. 9/17/14), 150 So. 3d 361,
      writ denied, 2014-2166 (La. 12/8/14), 153 So. 3d 445 .......................... 3

Balles v. Babcock Power Inc.,
      476 Mass. 565, 570 N.E.3d 905, (2017) ................................................. 3

Bristol Bay Prods., LLC v. Lampack,
      2013 CO 60, 312 P.3d 1155 (Co. 2013) ................................................. 3

Budget Truck Sales, LLC v. Tilley,
     163 Idaho 841, 419 P.3d 1139 (2018) .................................................... 3

Corish v. Northcutt,
      87 Va. Cir. 20 (2014) .............................................................................. 3

Cornelison v. TIG Ins.,
     376 P.3d 1255 (Alaska 2016) ................................................................. 3

Diemert v. Johnson,
     299 N.W.2d 546 (N.D. 1980) ................................................................. 3

Felis v. Downs Rachlin Martin PLLC,
       2015 VT 129, 200 Vt. 465, 133 A.3d 836 (2015) .................................. 3

Gennari v. Weichert Co. Realtors,
     148 N.J. 582, 691 A.2d 350 (1997) ....................................................... 2

Jewish Ctr. of Sussex County v. Whale,
      86 N.J. 619, 432 A.2d 521 (1981) .......................................................... 3

Key Fin., Inc. v. Koon,
      2016 OK CIV APP 27, 371 P.3d 1133 (Ok. App. 2015) ....................... 3

                                                        ii
Case 1:19-md-02875-RMB-SAK                   Document 2559-1           Filed 12/22/23        Page 4 of 11
                                             PageID: 88622




Lumley v. Advanced Data-Comm, Inc.,
     773 N.W.2d 562 (Iowa Ct. App. 2009) .................................................. 3

McNulty v. Chip,
    116 A.3d 173 (R.I. 2015) ........................................................................ 3

Microsoft Corp. v. Computer Warehouse,
     83 F. Supp. 2d 256 (D.P.R. 2000) .......................................................... 3

Morrow v. MetLife Invs. Ins. Co.,
     177 A.D.3d 1288, 113 N.Y.S.3d 421 (2019) .......................................... 3

Muccio v. Hunt,
     2016 Ark. 178, 490 S.W.3d 310 (2016) ................................................. 3

Rowan Cty. Bd. of Educ. v. U.S. Gypsum Co.,
     332 N.C. 1, 418 S.E.2d 648 (1992) ........................................................ 3

Saucier v. Countrywide Home Loans,
      64 A.3d 428 (D.C. 2013) ........................................................................ 3

Stabler v. First State Bank of Roscoe,
      2015 S.D. 44, 865 N.W.2d 466 (S.D. 2015)........................................... 3

Townsend v. Morton,
     36 So. 3d 865 (Fla. Dist. Ct. App. 2010) ................................................ 3

Siegel v. Ringer,
      2017-Ohio-6969, 94 N.E.3d 1178 (Oh. App. 2017)............................... 3

Singer v. Lajaunie,
      2014 WY 159, 339 P.3d 277 (Wyo. 2014) ............................................. 3

SL Indus., Inc. v. Am. Motorists Ins. Co.,
      128 N.J. 188, 607 A.2d 1266 (1992) ...................................................... 3

U.S. Bank N.A. v. Cold Spring Granite Co.,
      802 N.W.2d 363 (Minn. 2011) ............................................................... 3



                                                      iii
Case 1:19-md-02875-RMB-SAK                       Document 2559-1               Filed 12/22/23          Page 5 of 11
                                                 PageID: 88623



Rule

Fed. R. Civ. P. 56 .............................................................................................. 3, 5




                                                           iv
Case 1:19-md-02875-RMB-SAK        Document 2559-1     Filed 12/22/23   Page 6 of 11
                                  PageID: 88624



                        PRELIMINARY STATEMENT

      Torrent’s sale of finished dose valsartan-containing drugs from August 3,

2018 through August 17, 2018 constituted knowing fraud. On August 3, Torrent’s

API supplier, ZHP, informed Torrent that the valsartan API it had purchased was

contaminated with NDMA, a genotoxic impurity. (Torrent SOMF ¶ 15, 53). Despite

this unequivocal information, Torrent continued to sell its product as FDA approved,

compendial compliant, valsartan. (SOMF ¶ 43).         Torrent failed to recall the

contaminated pills, failed to disclose the contamination, and continued to

fraudulently sell its contaminated valsartan finished dose until August 17, 2018

when the first of many recalls was initiated. (Torrent SOMF ¶ 21).

      Additionally, during this time, Torrent received numerous questions from

customers regarding the status of the recall and whether or not Torrent’s medication

was contaminated. Prior to August 3, Torrent informed customers their product did

not contain a genotoxic impurity, even though Torrent had not tested its product to

confirm this statement. (SOMF ¶ 41). However, on August 3, after ZHP confirmed

that Torrent’s valsartan was, in fact, contaminated with NDMA, Torrent maintained

its position. (SOMF ¶ 43). Rather than notifying customers that NDMA was present

in Torrent’s valsartan and a recall was imminent, Torrent continued to assert that

there was no recall issued and no genotoxic compound in the medication (SOMF

¶ 41, 43). Even on the day a recall was issued, Torrent maintained its


                                         1
Case 1:19-md-02875-RMB-SAK          Document 2559-1       Filed 12/22/23    Page 7 of 11
                                    PageID: 88625



misrepresentations and continued to tell customers Torrent’s valsartan was not

recalled. (Id.)

       Torrent’s communications with customers were driven by fear of losing

profits, with no regard for the rights of those paying for the contaminated valsartan.

For example, in an email between ZHP and Torrent quality from July 5, 2018, the

companies discussed minimizing lost profits as a result of the contamination, stating,

“Hopefully with our joint efforts, we could minimize the impact to our products and

markets.” (See SOMF ¶ 62-63). Just days later, Torrent’s Chief Operating Officer

wrote an email on July 17, 2018, which stated, “All customers have been back-

ordered and every single day counts, as our failure to supply penalties will start

kicking in…” (Id.).


           TORRENT IS LIABLE FOR FRAUD AS A MATTER OF LAW

       The fraud subclass includes New Jersey, which is representative of the laws

of the other states in the subclass. The five elements of common-law fraud are: (1) a

material misrepresentation of a presently existing or past fact; (2) knowledge or

belief by the defendant of its falsity; (3) an intention that the other person rely on it;

(4) reasonable reliance thereon by the other person; and (5) resulting damages.

Gennari v. Weichert Co. Realtors, 148 N.J. 582, 610, 691 A.2d 350, 367 (1997),

citing Jewish Ctr. of Sussex County v. Whale, 86 N.J. 619, 624-25, 432 A.2d




                                            2
Case 1:19-md-02875-RMB-SAK        Document 2559-1      Filed 12/22/23   Page 8 of 11
                                  PageID: 88626



521 (1981). 1 These elements are established as a matter of law, pursuant to Fed. R.

Civ. P. 56, based on the undisputed material facts.

      First, after Torrent learned NDMA was in the valsartan it sold, Torrent began

working with the FDA to initiate a recall. (SOMF ¶ 43). In the meantime, customers

continued to ask Torrent if they product they purchased was recalled. (Id.) Despite

the fact Torrent was actively working to initiate a recall, Torrent continued to tell


1
 The law is consistent in the states in Fraud subclass group C, See: AK: Cornelison
v. TIG Ins., 376 P.3d 1255, 1270 (Alaska 2016); AR: Muccio v. Hunt, 2016 Ark.
178, 4–5, 490 S.W.3d 310, 312–13 (2016); CO: Bristol Bay Prods., LLC v.
Lampack, 2013 CO 60, ¶ 26, 312 P.3d 1155, 1160; DC: Saucier v. Countrywide
Home Loans, 64 A.3d 428, 438–39 (D.C. 2013); FL: Townsend v. Morton, 36 So.
3d 865, 868 (Fla. Dist. Ct. App. 2010); ID: Budget Truck Sales, LLC v. Tilley, 163
Idaho 841, 847, 419 P.3d 1139, 1145 (2018); IA: Lumley v. Advanced Data-Comm,
Inc., 773 N.W.2d 562 (Iowa Ct. App. 2009); LA: Albe v. City of New Orleans, 2014-
0186 (La. App. 4 Cir. 9/17/14), 150 So. 3d 361, 368, n.8, writ denied, 2014-2166
(La. 12/8/14), 153 So. 3d 445; MA: Balles v. Babcock Power Inc., 476 Mass. 565,
573–74, 70 N.E.3d 905, 913 (2017) MN: U.S. Bank N.A. v. Cold Spring Granite
Co., 802 N.W.2d 363, 373 (Minn. 2011); NJ: SL Indus., Inc. v. Am. Motorists Ins.
Co., 128 N.J. 188, 208, 607 A.2d 1266, 1277 (1992); NY: Morrow v. MetLife Invs.
Ins. Co., 177 A.D.3d 1288, 1289, 113 N.Y.S.3d 421, 423 (2019); NC: Rowan Cty.
Bd. of Educ. v. U.S. Gypsum Co., 332 N.C. 1, 17, 418 S.E.2d 648, 658–59 (1992);
ND: Diemert v. Johnson, 299 N.W.2d 546, 548 (N.D. 1980) (no materiality
component); OH: Siegel v. Ringer, 2017-Ohio-6969, ¶ 32, 94 N.E.3d 1178, 1185;
OK: Key Fin., Inc. v. Koon, 2016 OK CIV APP 27, ¶ 13, 371 P.3d 1133, 1137–38;
PR: Microsoft Corp. v. Computer Warehouse, 83 F. Supp. 2d 256, 262 (D.P.R.
2000) (no materiality requirement) RI: McNulty v. Chip, 116 A.3d 173, 182–83 (R.I.
2015) (no materiality requirement); SD: Stabler v. First State Bank of Roscoe, 2015
S.D. 44, ¶ 19, 865 N.W.2d 466, 477 (no materiality requirement); VT: Felis v.
Downs Rachlin Martin PLLC, 2015 VT 129, ¶ 13, 200 Vt. 465, 472, 133 A.3d 836,
842 (2015); VA: Corish v. Northcutt, 87 Va. Cir. 20 (2014); WA: Adams v. King
Cty., 164 Wash. 2d 640, 662, 192 P.3d 891, 902 (2008); WY: Singer v. Lajaunie,
2014 WY 159, ¶ 26, 339 P.3d 277, 285 (Wyo. 2014) (no materiality requirement).


                                         3
Case 1:19-md-02875-RMB-SAK         Document 2559-1     Filed 12/22/23   Page 9 of 11
                                   PageID: 88627



customers no recall has been issued on its valsartan. (Id.) Even as late as August 17,

which was when Torrent’s first recall was issued, Torrent continued to misrepresent

to customers its valsartan was not recalled. (Id.) This was a material

misrepresentation of a presently existing fact.


      Additionally, during this time and all time preceding, Torrent continued to

misrepresent that its valsartan product was the FDA approved formulation that

complied with the compendial requirements. This was not true, as Torrent was aware

its valsartan was contaminated with genotoxic probable human carcinogen, NDMA.


      Second, Torrent knew the above statements were untrue. Certainly, as of

August 3, Torrent had actual knowledge aware that its valsartan did not comply with

FDA requirements. (SOMF¶ 15, 38-49, 57). It knew that its valsartan did contain the

genotoxic impurity NDMA and that it therefore did not meet the regulatory or

compendial standards for valsartan. (Id.)


      It also knew that the information it was providing to customers regarding the

status of the recall and contamination was also not true as it directly conflicts with

the information provided to them by ZHP.


      Third, there was clearly an intent to have others rely on the misrepresentation

by definition. Without these representations the valsartan could not be legally sold.

Further, if Torrent told customers that it is in the midst of initiating a recall on

                                            4
Case 1:19-md-02875-RMB-SAK         Document 2559-1     Filed 12/22/23    Page 10 of 11
                                    PageID: 88628



valsartan product, customers would immediately stop buying the product and ask to

switch to another manufacturer’s valsartan. The only way to protect sales and profits

was to continue to tell customers that Torrent’s valsartan is not recalled and does not

contain NDMA and/or NDEA, and this aligns with Torrent’s conversations during

this time. (SOMF ¶ 62-63).


      Fourth, reasonable reliance is established as a matter of law. No TPP would

have been able to purchase the contaminated valsartan if the truth had been told –

since the contaminated valsartan could not and would not have been marketed, and

no retailer would have sold it. (SOMF ¶ 49, 57).


      Fifth, Plaintiffs were certainly damaged by purchasing adulterated,

contaminated valsartan, as if it was the FDA approved formulation, compliant with

the compendial requirements. If the truth had been told that could never have

happened, since the contaminated valsartan could not have been sold. The only

question to be answered at trial is the calculation of the compensatory damages, as

well as whether and in what amount punitive damages should be awarded.


                                  CONCLUSION

      For the foregoing reasons, Plaintiffs request entry of an Order granting partial

summary judgment, pursuant to Fed. R. Civ. P. 56, against Torrent for fraud, saving

only the amount of the compensatory damages, as well as whether punitive damages


                                          5
Case 1:19-md-02875-RMB-SAK        Document 2559-1     Filed 12/22/23   Page 11 of 11
                                   PageID: 88629



should be awarded, and the amount of punitive damages, as issues to be determined

at trial.


 Dated: December 22, 2023                   Respectfully submitted,

 /s/ Ruben Honik                              /s/ Daniel Nigh
 Ruben Honik                                  Daniel Nigh
 HONIK LLC                                    NIGH, GOLDENBERG, RASO, &
 1515 Market Street, Suite 1100               VAUGHN PLLC
 Philadelphia, PA 19102                       14 Ridge Square NW, 3rd Floor
 Phone: (267) 435-1300                        Washington DC 20016
 ruben@honiklaw.com                           Phone: (202) 792-7927
                                              dnigh@nighgoldenberg.com

 /s/ Adam Slater                              /s/ Conlee S. Whiteley
 Adam Slater                                  Conlee S. Whiteley
 MAZIE, SLATER, KATZ &                        KANNER & WHITELEY, LLC
 FREEMAN, LLC                                 New Orleans, LA 70130
 103 Eisenhower Pkwy, 2nd Flr.                Phone: (504)-524-5777
 Roseland, NJ 07068                           c.whiteley@kanner-law.com
 Phone: (973) 228-9898
 aslater@mazieslater.com

 MDL Plaintiffs’ Co-Lead Counsel

 /s/ Jorge Mestre                             /s/ Gregory P. Hansel
 Jorge Mestre                                 Gregory P. Hansel
 RIVERO MESTRE LLP                            PRETI, FLAHERTY, BELIVEAU &
 2525 Ponce de Leon Blvd., Suite 1000         PACHIOS, CHARTERED, LLP
 Miami, FL 33134                              One City Center
 Phone (305) 445-2500                         P.O. Box 9546
 jmestre@riveromestre.com                     Portland, ME 04112
                                              Phone: (207) 791-3000
                                              ghansel@preti.com
 Third-Party Payor Economic
 Loss Co-Lead Class Counsel




                                        6
